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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Richmond Division


LULA WILLIAMS, GLORIA TURNAGE,
GEORGE HENGLE, DOWIN COFFY, and                               Civil Case No. 3:17-cv-00461-REP
FELIX GILLISON, JR., on behalf of themselves
and all individuals similarly situated,

                       Plaintiffs,
v.

BIG PICTURE LOANS, LLC; MATT MARTORELLO;
ASCENSION TECHNOLOGIES, INC.;
DANIEL GRAVEL; JAMES WILLIAMS, JR.;
GERTRUDE MCGESHICK; SUSAN MCGESHICK;
and GIIWEGIIZHIGOOKWAY MARTIN,

                  Defendants.
______________________________________________ /


     DEFENDANTS BIG PICTURE LOANS AND ASCENSION TECHNOLOGIES’
     MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION


       Specially Appearing Defendants1 Big Picture Loans and Ascension Technologies move

this Court pursuant to Federal Rule of Civil Procedure 12(b)(1) for an order dismissing the




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  A defendant does not submit to the jurisdiction of this Court by filing a motion to dismiss. Hunt
v. Calhoun County Bank, Inc., 8 F. Supp. 3d 720, 726 (E.D. Va. 2014). See also Tomai–Minogue
v. State Farm Mut. Auto. Ins. Co., 770 F.2d 1228, 1233 (4th Cir.1985) (recognizing that a
defendant may enter a special appearance to challenge personal jurisdiction). A sovereign’s limited
appearance in legal proceedings for the purpose of seeking dismissal for lack of jurisdiction does
not waive any claims to sovereign immunity. See e.g., Lac du Flambeau Band of Lake Superior
Chippewa Indians v. Norton, 327 F. Supp.2d 995, 1000 (W.D. Wis. 2004) (“[Sovereign] entities
may intervene for a limited purpose such as moving to dismiss the lawsuit for failure to join an
indispensable party without waiving their sovereign immunity.”); McClendon v. U.S., 885 F.2d
627, 630 (9th Cir.1989) (“[T]erms of [a sovereign's] consent to be sued in any court define that
court's jurisdiction to entertain the suit.’”) (quoting Jicarilla Apache Tribe v. Hodel, 821 F.2d 537,
539 (10th Cir.1987) (quoting U.S. v. Testan, 424 U.S. 392, 399 (1976)); cf. Richardson v. Fajardo
Sugar Co., 241 U.S. 44, 47 (1916) (when a sovereign government has appeared, answered a
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Plaintiffs’ Class Action Complaint. The reasons in support of this motion are set forth in the

accompanying memorandum of law, which is incorporated herein by reference.



                                             BIG PICTURE LOANS, LLC, ASCENSION
                                             TECHNOLOGIES, INC.


                                             By:/s/David N. Anthony
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complaint, set a trial date and defended the claim for several months, rather than merely appeared
for the purposes of moving to dismiss, it has waived its right to challenge jurisdiction).

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 29th day of September, 2017, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF System which will then send a notification of such

filing (NEF) to the following:


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